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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



TABITHA QUINONES, individually and as
next friend to minor plaintiff N.F.,

                   Plaintiff,

        v.                                        Case No. 1:22-cv-04657

META PLATFORMS, INC.,
FACEBOOK HOLDINGS, LLC,
FACEBOOK OPERATIONS, LLC,
FACEBOOK PAYMENTS, INC.,
FACEBOOK TECHNOLOGIES, LLC,
INSTAGRAM, LLC, AND
SICULUS, INC.,

                   Defendants.



  DEFENDANT FACEBOOK PAYMENTS, INC.’S NOTIFICATION OF AFFILIATES

   Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2, Defendant Facebook

Payments, Inc. discloses the following:

   1. Facebook Payments, Inc. is a wholly-owned subsidiary of Meta Platforms Inc., which is a

publicly held corporation.




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Dated: September 19, 2022

                                         Respectfully submitted,


                                          /s/ Jacob T. Spencer
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                                         Attorneys for Defendants Meta Platforms, Inc.,
                                         Facebook Holdings, LLC, Facebook Operations,
                                         LLC, Facebook Payments, Inc., Facebook
                                         Technologies, LLC, Instagram, LLC, and Siculus,
                                         Inc.




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                                CERTIFICATE OF SERVICE

         I certify that, on September 19, 2022, a true and correct copy of this Notification of

Affiliates was served by ECF on all counsel of record.



                                            /s/ Jacob T. Spencer
                                                Jacob T. Spencer


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